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                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    December 8, 2020

BY EMAIL
The Honorable Sarah Netburn
United States Magistrate District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

              Re:     United States v. Brandon Green, 16 Cr. 281 (PGG)

Dear Judge Netburn:

         The Hon. Paul G. Gardephe has referred this matter for appointment of counsel by the
Magistrate Judge. The Government therefore respectfully requests that the Court “so-order” the
appointment of CJA attorney Steven Witzel as standby counsel for defendant Brandon Green to
assist in the representation of Green during post-trial proceedings. Green’s Financial Affidavit
was previously approved and signed by Judge Gabriel W. Gorenstein on May 16, 2017.


                                                    Respectfully submitted,

                                                    AUDREY STRAUSS
                                                    Acting United States Attorney

                                            By:     /s/
                                                    Jessica K. Feinstein
                                                    Assistant United States Attorney
                                                    (212) 637-1946


cc:    Steven Witzel, Esq.


  SO ORDERED.



  December 8, 2020
  New York, New York
